UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                             )
 IN RE:                                                      )   Chapter 11
                                                             )
 ROCHESTER DRUG CO-OPERATIVE, INC.,                          )   Case No.20-20230 (PRW)
                                                             )
                                Debtor.                      )
                                                             )

                                 CERTIFICATE OF SERVICE

STATE OF CALIFORNIA   )
                      )
COUNTY OF LOS ANGELES )


         I, Nancy H. Brown, am over the age of eighteen years, and am employed by

Pachulski Stang Ziehl & Jones LLP. I am not a party to the within action; my business

address is 10100 Santa Monica Blvd., 13th Fl., Los Angeles, CA 90067.

        On November 1, 2021, I caused to be served a true and correct copy of Notice of

Objection on Liquidating Trustee’s Second Omnibus Objection to Amended Claims

Filed Against Rochester Drug Co-Operative, Inc. via the Court’s ECF system.

        I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.

        Executed this 1st day of November, 2021 at Los Angeles, California.


                                                      /s/ Nancy H. Brown
                                                      Nancy H. Brown




DOCS_DE:236571.4 75015/003
 Case 2-20-20230-PRW, Doc 1405-4, Filed 11/01/21, Entered 11/01/21 19:06:53,
                  Description: Certificate of Service , Page 1 of 1
